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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH DAKOTA
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,                                 CR. 18-40157


              Plaintiff


              V.                                          JOINT MOTION TO SEAL



CHRISTOPHER A.HOSHAW,and
ALL AROUND SPORTS,LLC.

              Defendants.


       Christopher A.Hoshaw and All Around Sports,LLC,naoves this Court for it Order sealing

the attached Joint Motion to Continue Sentencing,Continue Other EJht^s based upon paragraph A

of said Motion.


       Dated this 13th day of March,2019.


                                            Michael J. Butldf, Esq.
                                            100 S. Spring Ave. Ste. 210
                                            Sioux Falls,SD 57104

                                            and


                                            Scott McKay
                                            Nevin,Benjamin, McKay & Bartlett LLP
                                            PO Box 2772
                                            Boise ID 83701
                                            smckay@nbmlaw.com

                                            Attorneys for Defendants, Christopher Hoshaw and
                                            All Around Sports,LLC
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                                  Jeremy R.Jehangiri
                                  Assistant United States Attorney
                                  PO Box 2638
                                  Sioux Falls SD 57101
                                  Jeremv.jehangiri@usdoj.gov

                                  Attorney for Plaintiff, United States of America
